Case 3:22-cv-02445-G-BT Docurt3Q00220I% 102/20 Page 10f18 PageIlD 5

Tcaurt

(1! \)\ | IN THE UNITED STATES DISTRICT COURT. oF
“INT... BQR THE NORTHER DISTRICT OF TEXAS '“°
Joe Hunsinger 2022NOY -2 ANIO: 58
Plaintiff Pro-Se’ Case No: mS
7 . vervuit ul § cern i
3 -22C)2445 -¢
NATURAL POWER SOURCES, LLC. DBA AS SUNTUITY ~
Defendants

COMPLAINT

1.0 PARTIES
1.1 Joe Hunsinger is a an individual citizen of Texas and a resident of this

District.

1.2 Defendant NATURAL POWER SOURCES, LLC. DBA AS SUNTUITY is a foreign
corporation with its principal place of business at 2137 NJ-35, Holmdel, NJ 07733

1.3. Defendant NATURAL POWER SOURCES, LLC. DBA AS SUNTUITY can be
served via their registered agent NATURAL POWER SOURCES, LLC. at 2137 Route
35, Holmdel, New Jersey 07733.

2.0 JURISDICTION AND VENUE
2.1 This court has personal specific jurisdiction pursuant to 28 USC Section 1331
and 47 USC Section 227.

2.2 Supplemental jurisdiction for Plaintiffs state law claims arise under 28 USC
Section 1391(b)(2).

2.3. This Court has personal specific jurisdiction over Defendant because
defendant made calls to Plaintiff in this District and Defendant conducts business

in the State of Texas.

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3.0 PRELIMINARY STATEMENT

3.1 This is an action for damages brought by an individual consumer for

violations of the TCPA, a federal statute enacted in response to widespread public
outrage about the proliferation of intrusive and nuisance telemarketing practices.

3.2. Senator Hollings, the TCPA’s sponsor, described these call as “the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of be; they hound us until we want to rip
the telephone out of the wall.” Defendant’s actions has caused Plaintiff to suffer
physical sickness.

3.3. The TCPA regulations define “telemarketing” as “the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services.”

3.4 If a call is not deemed telemarketing, a Defendant must nevertheless
demonstrate that it obtained the Plaintiffs prior express consent according to 47
CFR Section 64.1200(a)(1).

3.5. “Unsolicited telemarketing phone calls or text messages, by their nature,
invade the privacy and disturb the solitude of their recipients.”
3.6 Section 227(b)(1)(A)(iii) of the TCPA sets forth restrictions on the use of
automated telephone equipment and prerecorded voice calls, and provides in
pertinent part:
It shall be unlawful for any person within the United States, or any person
outside the United States if the recipient is within the United States -
(A) to make any call (other than a call made for emergency purposes or
made with the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded

voice.

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3.7 Plaintiff has been harmed by Defendants’ acts because his privacy has been
violated. Plaintiff was subject to annoying and harassing telephone calls (texts)
that constitute a nuisance.

3.8 Telemarketers must obey the prohibitions in the TCPA.

3.9 Defendant(s) initiate phone calls to obtain new business, Defendant(s) do
not check to see if they number they are calling is registered on the DNC Registry.

3.10 Defendants are telemarketers defined by the TCPA.

3.11 Defendant uses telemarketing to obtain new customers.

3.12 Plaintiff, over 31 days ago, has registered his phone number with the DNC
Registry, see 47 CFR Section 64.1200(b)-(d) and the Texas Do Not Call List over 60
days ago..

3.13 Plaintiffs description of an event that happened which created a right of
action under the TCPA and exhibits provided are factual support, sufficient for
Plaintiff to state a claim.

3.14 Plaintiff wants to use our nations telecommunications infrastructure without

harassment.

3.15 Defendant has not obtained a SAN’s number from the FTC.

3.16 If Defendant(s) want to avoid a TCPA lawsuit, all they have to do is not break
the laws in the TCPA.

4.0 VICARIOUS LIABILITY
4.1 At all times relevant the the events giving rise to this lawsuit, Defendant
acted through its agents and is therefore liable for such actions pursuant of

vicarious liability principles.

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4.2 Whenever it is stated herein that Defendant engaged in any act or omission,
the statement includes the acts or omissions by Defendant, its agents, its
employees, its representatives and others with actual or apparent authority to act
on behalf of and bind the Defendant.

4.3. Under the TCPA corporate offers can be held liable under the laws of the
TCPA.

5.0 QUESTIONS OF LAW
5.1 There are well defined and nearly identical questions of law and fact that
affect all parties. Such common questions of law and fact include, but are not
limited to, the following:

5.2 Whether Defendant(s) placed such telephone calls to the Plaintiff;

5.3. Whether Defendant(s) TCPA violations and conduct was knowing and/or
willful:

5.4 Whether Defendant(s) can meet their burden of showing that they clearly
and unmistakably obtained “prior express consent” to make such calls/texts
to the Plaintiff;

5.5 Whether Defendant(s) are liable for damages to the Plaintiff, as well as the
amount to of such damages;

5.6 Whether Defendant(s) identified themselves to the Plaintiff or if their agents
identified the entity on whose behalf the call/text was being made;

5.7. Whether Defendant(s) sent Plaintiff their DNC policy when it was requested;

5.8 Whether Defendant(s) uses telemarketing to obtain new customers;

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6.0 FACTUAL ALLEGATIONS
NATURAL POWER SOURCES, LLC. DBA SUNTUITY

6.1 Defendants have initiated one phone call from phone number 214-220-8999
to Plaintiffs phone number ending in 2367 on 4-20-2021 at 12:41 PM.

6.2 The call was an ATDS. It took a couple of seconds for the telemarketer to
come on line and there was a bloop sound.

6.3. The caller identified herself as Green something. The caller of 214-220-
8999 was asking for some other person and Plaintiff told her the number she
called has been his for a couple of months now. Despite this, the caller began
soliciting solar panes for his home.

6.4 Not knowing her company’s true identity, Plaintiff entertained her sales
pitch to find out her company true identity. Later on in the call she transferred
Plaintiff to someone else, Donaldson or something.

6.5 Defendant sent Plaintiff one text identifying the true company name of
Suntuity from 732-945-8505.

6.6 Plaintiff responded back to Defendants text instructing them not to call him
again and to send him a copy of their DNC Policy. Plaintiff also called the 214-
461-1157 number but it was a non working number.

6.7. Defendant did not send Plaintiff a copy of their DNC Policy.
6.8 Plaintiff sent Defendant a DTPA Demand Letter. Plaintiff received a call from

Joseph Kairalla and spoke numerous times with him. He told Plaintiff he was given
the demand letter by Suntuity and told to take care of it.
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6.9 Plaintiff and Joseph Kairalla went back and forth with emails, negotiating and
attempting to settle this matter. Mr. Kairalla’s email is joe@solarmediateam.com.

6.10 Inthe end, Plaintiff did not accept Defendant’s demand of confidentiality.

6.11 Defendant and its affiliates sell, lease, and install electricity from residential
solar photovoltaic systems.

7.0 FACTUAL ALLEGATIONS
CONTINUED

7.01 Plaintiff is the subscriber of phone number ending in 2367 and is financially
responsible for phone service to said number.

7.02 Plaintiff's phone number ending in 2367 is primarily used for personal,
family, and household use.

7.03 Plaintiff, at no time, gave Defendant his “prior express consent” or “express
consent” to be contacted by calls he is complaining about.

7.04 The calls placed by the Defendant was not necessitated by an emergency
purposes as defined by 47 USC Section 227(b)(1)(A).

7.05 Defendants commercial telemarketing calls were transmitted to Plaintiffs
cellular telephone, and within the time frame relevant to this action.

7.06 Plaintiff is not a customer of Defendant and has not provided defendant with
his personal information or telephone number, or sought out solicitation from the

Defendant or their agents.

7.07 Plaintiff does not have and has never had an established business or
personal relationship with the Defendants.

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7.08 The calls received by the Plaintiff from the Defendant or their agent was for
the purpose of encouraging the purchase of rental of, or investment in, property,
goods, or services. The call therefor qualifies as telemarketing.

7.09 The FCC has explained that its “rules generally establish that the party on
whose behalf a solicitation is made bears ultimate responsibility for any
violations.” See in re Rules & Regulations Implementing the TCPA, CC Docket No.
92-90, Memorandum Opinion and Order, 10 FCC Red 12391, 12397 (Paragraph
13)(1995).

7.10 Defendant is not a tax-exempt non profit organization.

7.11 Defendants were legally responsible for ensuring that their vendors
complied with the TCPA, even if Defendants did not themselves make the calls.

7.12 Defendant were legally responsible for ensuring that their vendors complied
with the TCPA, even if Defendants did not themselves make the calls.

7.13 Defendants used an ATDS that has the capacity either to store a telephone
number using a random or sequential generator or to produce a telephone
number using a random or sequential number generator.

7.14 Defendant hires and authorizes and approves third party telemarketers to
make illegal, unauthorized phone calls to solicit their services.

7.15 Defendant authorizes the payments to the telemarketers out of bank
accounts they own and control.
7.16 Defendant provides instruction and guidance on who to solicit and the

minimum qualifications of potential clients.

7.17. Defendant has full control over their telemarketers who solicit on their
behalf and has the authority to stop the illegal phone calls that violate the TCPA.
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7.18 Defendant receives a financial benefit from violating the TCPA.

7.19 As a result of Defendant illegal conduct, Plaintiff is entitled to $500 in
damages for each such violation of the TCPA. This is for each and every violation,
whether Defendants committed multiple violations with a single phone call.

7.20 Plaintiff has submitted his complaints to the FTC, Texas Attorney General,
and the Texas PUC. If PUC does not take legal action against defendant in 121
days, under Section 304.257(a)(3), Plaintiff will have the private right of action to
demand $500 per violation under Section 304.052 committed by the Defendant.

8.0 STANDING

8.01 Standing is proper under Article Ill of the Constitution of the United States of
America because Plaintiff's claims state: (a) a valid injury in fact; (b) which is
traceable to the conduct of Defendant; and (c) is likely to be redressed by a
favorable judicial decision.

8.02 Plaintiff's injury in fact must be both “concrete” and “particularized” in order
to satisfy the requirements of Article Ill of the Constitution.

8.03 Plaintiff, under his 14 Amendment rights, has right to bring this action to be
heard in front of a jury.

8.04 Because all standing requirements of Article III of the US Constitution have
been met, Plaintiff has standing to sue Defendant on the stated claims.

COUNT 1

11.01 Plaintiff re-alleges and incorporates the above paragraphs.

11.02 Defendant violated 47 USC Section 227(b)(1)(A)(iii) by placing two (non
emergency) solicitation calls/texts to the Plaintiff.

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11.03 Defendant must pay Plaintiff damages for each text placed to Plaintiff
pursuant to 227(b)(3) in an amount up to $1500 per violation.

COUNT 2

12.01 Plaintiff re-alleges and incorporates the above paragraphs.

12.02 Defendant transmitted two solicitation calls/texts to Plaintiffs cellular
phone number, which was registered on the Do Not Call registry, violating 47 CFR
Section 64.1200(c)(2) and CFR 64.1200(a)(1).

12.03 Defendant must pay Plaintiff damages for each text placed to Plaintiff
pursuant to 227(b)(3) in an amount up to $1500 per violation.

COUNT 3

13.01 Plaintiff re-alleges and incorporates the above paragraphs.

13.02 Defendant initiated calls/texts to the Plaintiff, despite the fact that Plaintiffs
phone number is listed on the DNC Registry and list. Defendant failed to train
their employees about the TCPA, failed to identify their company, and does not

have polices and written procedures in place that must meet the standards of:

CFR 64.1200(d)(2)
CFR 64.1200(d)(4)
CFR 64.1200(d)(6)

13.03 Defendant must pay Plaintiff treble damages $1500 (total) for the above
violations.
COUNT 4

14.01 Plaintiff re-alleges and incorporates the above paragraphs.

14.02 Defendant made calls to Plaintiffs phone ending in 2367 intentionally or
knowingly and the calls were not accidental.

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14.03 Defendant violated 227(b), 227(c), and 227(d).

14.03 Pursuant to TBCC Section 305.053, Plaintiff sues here for treble monetary
damages as stated in Counts 1 and 2.

COUNT 5

15.01 Plaintiff re-alleges and incorporates the above paragraphs.

15.02 Defendant has made one call to Plaintiff without obtaining a telephone
solicitation license as required under 302.101.

15.03 Section 302.302(a) of the Texas Business & Commerce Code provides that
a person who violates this chapter is subject to a civil penalty of no more than
$5,000 for each violation. Furthermore, §302.302(d) provides that the party
bringing the action is also entitled to recover all reasonable cost of prosecuting
the action, including court costs and investigation costs and deposition expenses,

15.04 Defendant must pay Plaintiff $5000.
TRIAL BY JURY
20.01 Plaintiff demands a trial by jury under the 7 Amendment of the US

Constitution.
CONCLUSION

Plaintiff requests everything he has asked for in his Complaint and other relief as

the Court deems necessary.

fi

Cc
Joe Hunstager - Pro se
7216 CF Hawn Frwy.

Dallas, Texas 75217
214-682-7677
joe75217@gmail.com

Case 3:22-cv-02445-CoB lgpPasuiagnt. Filed 11/02/ag@ Leer? Bs PagelD 15

2 ES) #12144611157 ,6 ;

TODAY

vy Incoming call
Feb 22, 12:30 PM

&) 5

Call Message

11min 53sec

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Case 3:22-Cv-02445-CaB @p@y rents Filed 11/02 n24e, Pap lg, 38 &P PagelD 16

€ (732) 945-8505 %

Feb 22, 12:52 PM

Conversation with (732) 945-8505

@ Hi, Joe, this is

Anthony from
Suntuity! Please
send a picture of
your electric bill
containing the bar
graph section of
your TXU Energy
bill. If you have
any questions feel
free to text me
here or call me at
855-786-8848.

Feb 22, 12:52PM

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@ Send message é&

EXHIBIT A
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€ (732) 945-8505 &

Hi, Joe, this is
Anthony from
Suntuity! Please
send a picture of
your electric bill
containing the bar
graph section of
your TXU Energy
bill. If you have
any questions feel
free to text me
here or call me at
855-786-8848.

Feb 22, 12:52PM

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4-4-2020

From:

Joe Hunsinger

7216 CF Hawn Frwy.
Dallas, Texas 75217
214-229-2367
Joe75217@gmail.com

To:

NATURAL POWER SOURCES, LLC.
DBA SUNTUITY

2137 ROUTE 35 N

HOLMDEL, NEW JERSEY 07733

Re: TCPA Violations Calls from: 214-461-1157
856-214-8281
Texts from: 732-945-8505

Dear NATURAL POWER SOURCES, LLC. DBA SUNTUITY,

My phone number is registered on the Do Not Call list. The Calls |
received are a direct violation of USC 227, CFR 64.1200, and TBCC
302.301.

There is no prior business relationship between myself and you, and |
never gave consent to be called/texted. | did not give you written
consent to contact me via calls/texts. If you claim to have consent to
contact me - prove to me there is a definite record on file of the
consent event that complies with the definitions of consent with the
TCPA.

This letter of intent to sue shall serve as a formal notice to you that
Joe Hunsinger intends to commence a lawsuit against you for TCPA
violations and seeks to treble his statutory damages under USC 227(b)
(3) due to the following:

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PAGE |

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USC 227(b) $500 for using an ATDS or Computer Voice
USC 227(c) $500 for 3 call
USC 227(e) $1500 for spoofing your phone number

CFR 64.1200(d)(1) $500 for not sending my your DNC Policy

CFR 64.1200(d)(4) $500 for failing to identify

CFR 64.1200(d)(6) $500 for 1 calls placed after my DNC request

TBCC 302.301 $5000 for engaging repetitive telephone
solicitation of myself without obtaining a
registration certificate from the Office of the
Secretary of State of Texas. (See TBCC 302.302)

The TCPA establishes a private right of action for telephone
subscribers who receive such unwanted calls/texts. See TCPA Section
227(b)(3). The TCPA provides a private right of action and seek
damages of $500 per call/text and treble damages if it is found by the
court or jury that the sender’s illegal actions were “Willful”.

| am a consumer as defined by the TBCC. You violated TBCC Section
17.46(b)(2) and 17.46(b)(3) by initiating telemarketing calls to my
phone number, not identifying yourself as the TCPA mandates all
telemarketers must do when initiating calls, and continued calls
placed to me after | requested you to place my number on your
internal DNC list.

| am confidant that | can demonstrate that the calls and texts
messages you sent me were willfully committed against the statutory
laws of the TCPA and the DNC list. | have article Ill standing suffered
through the unwanted and unsolicited telemarketing texts on my
number (which is listed on the DNC list), suffered physical sickness
and your calls physically invaded my privacy and usruped my right to
peacefully enjoy my private property, and depleted my cell phone
battery. So, even if you sent me one call/text message or more, even
if they did not qualify as a TCPA violation, | still would have Article III
standing and several federal courts in Texas have addressed the same
argument and held that an allegation where one has had to endure
the nuisance of unwanted calls satisfies the injry-in-fact requirement
for a TCPA claim - especially at the pleading stage. Discovery will
expose the truth from the allegations | assert.

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PAGE Q

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My intentions are to file in Federal court as a pro-se. If a lawsuit is
filed, | will | will demand treble damages for each violation of the TCPA
for your wilful unlawful actions, found in my favor in a court of law.

In the event you would prefer to resolve this matter without court
fines and attorney’s fees, you may remit the sum of $9,000 and with
the condition that my DNC request remain entered in your company’s
system and agree not to violate the TCPA again agianst myself. This
will cover the above mentioned statutory violations, physical sickness,
and other monetary damage | would be entitled to in a civil action
against you.

My Total Demand is for $9,000.

The DTPA requires that | send a pre-suit settlement demand before
filing a lawsuit. If | do not receive a response to my demand within
sixty (60) days from receipt of this settlement offer | will move forward
by pursuing this matter in a court of law in an attempt to treble my
Total Demand. If you dispute any of these claims asserted herein,
please contact me at the address or email listed above.

Sincerely,

Joe Hu | ie

USPS # 7014 2120 0000 8774 8221

EXHIBIT ID
PAGE 4

Case 3:22-cv-SAW5IBRSE PDEPART MENFOR PME TREASURY! 18 PagelD 21
DIVISION OF REVENUE AND ENTERPRISE SERVICES

CERTIFICATE OF FORMATION

SUNTUITY SOURCING LLC
0450103574

The above-named DOMESTIC LIMITED LIABILITY COMPANY was duly filed in
accordance with New Jersey State Law on 09/09/2016 and was assigned
identification number 0450103574.

1.

2.

Name:
SUNTUITY SOURCING LLC

Registered Agent:

NATURAL POWER SOURCES LLC DBA SUNTUITY

Registered Office:
2137 ROUTE 35
HOLMDEL, NEW JERSEY 07733

Business Purpose:

Following are the articles that
constitute its original certificate.

SOURCING, PROCUREMENT AND DISTRIBUTION OF ENERGY PRODUCTS AND COMPONENTS

Effective Date of this Filing is:

09/09/2016
Members/Managers:

NATURAL POWER SOURCES LLC DBA SUNTUITY

2137 ROUTE 35
HOLMDEL, NEW JERSEY 07733

Main Business Address:
2137 ROUTE 35
HOLMDEL, NEW JERSEY 07733

Signatures:

SHADAAN JAVAN
AUTHORIZED REPRESENTATIVE

Certificate Number : 4020714415
Verify this certificate online at
hitps://www1 state. nj.us/TYTR_StandingCerJSP/Verify_Cert jsp

IN TESTIMONY WHEREOF, I have
hereunto set my hand and
affixed my Official Seal
9th 7 of September, 2016

Sms
Sef FESS Saks,

Ford M. Scudder
Acting State Treasurer

EXHIBIT C
PAGE |

Page 1 of 1
JS 44 (Rev. 10/20) -<G&BA0R022-CV-02445-G-BT OPVIHNMOVERSHEREL2 Baededi @Ve24b& 5 - G

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

JOE HUNSINGER

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

DALLAS

DEFENDANTS

Attorneys (If Known)

County of Residence of First Listed Pefen

NOTE: INLAND CONDEMNATIONJCASE
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NATURAL POWER SOURCES LLC DBA SUNTUITY

(IN U.S. PLAINTIFF

Ww IV ED

“CLERK U.S. DISTRICT COURT

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

(]1 U.S. Government
Plaintiff

[]2 US. Government
Defendant

[=] 3 Federal Question

(U.S. Government Not a Party)

(4 Diversity

(Indicate Citizenship of Parties in Item III)

III. CITIZENSHIP OF PRINCIPAL

(For Diversity Cases Only)

SRN DIS RICT OF TE

intiff

and One Box for Defendant)

PTF DEF

Citizen of This State

Citizen of Another State

Citizen or Subject of a
Foreign Country

(2

PTF DEF

[%]1 [[] 1 Incorporated or Principal Place Ole (4
of Business In This State

(_] 2 Incorporated and Principal Place Ols (1s

of Business In Another State

C13 (J 3 Foreign Nation

Os Oe

IV. NATURE OF SUEY (Place an “X” in One Box Only)

[CONTRACT

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

C 153 Recovery of Overpayment

of Veteran’s Benefits
[_] 160 Stockholders’ Suits
[_] 190 Other Contract
[_] 195 Contract Product Liability
|_| 196 Franchise

PERSONAL INJURY
310 Airplane
315 Airplane Product
Liability
320 Assault, Libel &
Slander
330 Federal Employers’
Liability
340 Marine
345 Marine Product

Liability

350 Motor Vehicle

355 Motor Vehicle

Product Liability
| 360 Other Personal
Injury
| 362 Personal Injury -
Medical Malpractice

PERSONAL INJURY
OC 365 Personal Injury -

(] 367 Health Care/

[_] 368 Asbestos Personal

PERSONAL PROPERTY

371 Truth in Lending
[_] 380 Other Personal

Property Damage
O 385 Property Damage

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

CILLT TY

440 Other Civil Rights
441 Voting
442 Employment
443 Housing/
Accommodations
|| 445 Amer. w/Disabilities -
Employment
| 446 Amer. w/Disabilities -
Other
448 Education

463 Alien Detainee
510 Motions to Vacate

535 Death Penalty oe
540 Mandamus & Other

555 Prison Condition
560 Civil Detainee -

of Property 21 USC 881

|_]690 Other

Act

| 720 Labor/Management
Relations

740 Railway Labor Act

751 Family and Medical
Leave Act

790 Other Labor Litigation
791 Employee Retirement
Income Security Act

IMM ION
462 Naturalization Application
465 Other Immigration
Actions

Click here for: Nature of S
|. FORFEITURE/PENALTY | BANKRUPTCY ___
| 625 Drug Related Seizure

| | 422 Appeal 28 USC 158
|_| 423 Withdrawal
28 USC 157

uit Code Descriptions.

_| 375 False Claims Act

376 Qui Tam (31 USC
3729(a))
400 State Reapportionment

PROPERTY R re

410 Antitrust

r] 820 Copyrights
| | 830 Patent
[ | 835 Patent - Abbreviated
New Drug Application
[ | 840 Trademark
[ | 880 Defend Trade Secrets
Act of 2016

: CIAL SECURITY _
| | 861 HIA (1395ff)

|_| 862 Black Lung (923)

| 863 DIWC/DIWW (405(g))
| 864 SSID Title XVI

T | 865 RSI (405(g))

FEDERAL TAX SUITS

870 Taxes (U.S. Plaintiff
or Defendant)

[] 871 IRS—Third Party

26 USC 7609

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

| 480 Consumer Credit

(15 USC 1681 or 1692)

|_] 485 Telephone Consumer

Protection Act

H 490 Cable/Sat TV

i

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act
896 Arbitration

+ 899 Administrative Procedure
Act/Review or Appeal of

Agency Decision
| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X” in One Box Only)

* 1 Original 2 Removed from 3. Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

227

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:

UNWANTED AND ILLEGAL CALLS

VII. REQUESTED IN

(.] CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [lyes [No
VIII. RELATED CASK(S) /
IF ANY (See instructions): DOCKET NUMBER
DATE SIGN TTORNEY OF RECORD
11-2-2022 cy "d
FOR OFFICE USE ONLY Cc =>
AMOUNT JUDGE MAG. JUDGE

RECEIPT #

